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WSOU INVESTMENTS, LLC d/b/a,
BRAZOS LICENSING AND

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
WACO DIVISION

DEVELOPMENT Civil Case No. 6:20-cv-580-ADA

Plaintiff,
v.

JURY TRIAL DEMANDED

GOOGLE LLC,

Defendant.

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DECLARATION OF DMITRY LIZORKIN

I, Dmitry Lizorkin, a fact witness in the above-captioned action have been informed of and

understand that:

Ii

WSOU Investments, LLC d/b/a Brazos License and Development (““WSOU”) and
Google LLC (“Google”) may take my deposition pursuant to Federal Rules of Civil
Procedure.

During the deposition, I may be assisted by my own counsel.

I currently live and work in Switzerland, and will voluntarily appear at the Swiss offices
of Quinn Emanuel at Dufourstrasse 29, 8008 Zurich, Switzerland or, if required, at
another location in the canton of Zurich, Switzerland, for the purpose of this deposition.
I am not obligated to appear and participate in the deposition and cannot be subjected to
any coercive measures.

By being deposed in the canton of Zurich, Switzerland, I have been apprised that I have

rights under Swiss law.

 
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6. Atany time during examination, J may invoke any right or duty to refuse testimony under
Swiss Law. | understand that my rights to refuse testimony are set out in particular in
Articles 165-166 of the Swiss Code of Civil Procedure.

7. At any time during examination, I may also invoke any right or duty to refuse testimony
under U.S. Law. In particular, I understand that I am entitled to refuse to answer any
question pertaining to/or which may invoke attorney-client privilege and/or attorney
work-product.

8. The Swiss Commissioner in this matter, Olivier Buff, with address at Quinn Emanuel

Urquhart Sullivan (Schweiz) GmbH, Dufourstrasse 29, 8008 Zurich, Switzerland, will

 

serve as my agent of service (“Domizilhalter”) in Switzerland in this matter. Thus, any
correspondence from the US or Swiss authorities may validly be delivered to Olivier
Buff, and he will then forward to me.
In view of the above, I hereby consent to having my deposition taken in the above-captioned
matter by oral examination in the English language under oath, recorded by video and stenography,
at a date to be determined.

I confirm that I am cooperating of my own accord.

YH pp
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2.02, 202 SU

DMITRY LIZORKIN

 

 

 
